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                               No. 16-70023
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                            IN THE
             UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT
                  ____________________________

                            JOSEPH GAMBOA,
                            Petitioner-Appellant

                                     v.

   BOBBY LUMPKIN, DIRECTOR, TEXAS DEPARTMENT OF
CRIMINAL JUSTICE, CORRECTIONAL INSTITUTIONS DIVISION,
                   Respondent-Appellee
              ______________________________

        On Appeal from the United States District Court for the
           Western District of Texas, San Antonio Division
                 Civil Action Number 5:15-cv-00113
                   ______________________________

PETITIONER-APPELLANT’S OPPOSED MOTION TO STAY THE
                       MANDATE
             _______________________________

     Pursuant to Federal Rule of Appellate Procedure 41(d)(1),

Petitioner-Appellant Joseph Gamboa moves this Court for an order

staying the issuance of the mandate to allow him time to file a petition

for a writ of certiorari in the Supreme Court and thereafter until the




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Supreme Court disposes of the case. Counsel for the Director opposes

this request.

     On August 1, 2019, a panel of this Court denied a certificate of

appealability as to Mr. Gamboa’s Rule 60(b) motion. Docket 77. On

March 16, 2023, a panel of this Court dismissed as moot Mr. Gamboa’s

appeal of the denial of substitute habeas counsel and of his habeas

petition. Docket 138. On April 25, 2023, this Court denied Mr. Gamboa’s

motion for en banc rehearing. Docket 149. The mandate is scheduled to

issue on May 3, 2023. Docket 149.

     Mr. Gamboa has ninety days from April 25, 2023, to file a petition

for writ of certiorari in the United States Supreme Court seeking review

of this Court’s judgment. 28 U.S.C. § 2101(c); Supreme Court Rule 13.1.

He intends to seek such review. Federal Rule of Appellate Procedure

41(d)(1) permits a party to move to stay the mandate pending the filing

of a petition for writ of certiorari and resolution by the Supreme Court.

     In this case, a stay of the mandate is appropriate because Mr.

Gamboa’s certiorari petition will present a substantial question for

review, and there is good cause for a stay in this capital case. Fed. R.

App. P. 41(d)(1). The issues to be raised include the abandonment by


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counsel during federal capital habeas proceedings and the conflict

between circuits as to the scope of district courts’ jurisdiction to consider

Rule 60(b) motions in capital habeas cases.

                                CONCLUSION

      For the foregoing reasons, Mr. Gamboa seeks an order staying the

mandate pending the timely filing and resolution of his petition for a writ

of certiorari.

                                             Respectfully submitted,

                                             /s/ Stephen A. Ferrell
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                       CERTIFICATE OF CONFERENCE

     I certify that on May 2, 2023, I conferenced this motion with
Respondent’s counsel, Ali Nasser, who indicated that Respondent
opposes this motion.
                                    /s/ Stephen A. Ferrell
                                    Stephen A. Ferrell



                         CERTIFICATE OF SERVICE

      On May 2, 2023, this petition was served via CM/ECF on all
registered counsel and transmitted to the Clerk of the Court.

                                              /s/ Stephen A. Ferrell
                                              Stephen A. Ferrell




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